                                                                                                 ORDERED ACCORDINGLY.


                                                                                                  Dated: July 28, 2020

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                                                                                                 _________________________________
   3                                                                                             Brenda K. Martin, Bankruptcy Judge

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   6                                        UNITED STATES BANKRUPTCY COURT

   7                                                      DISTRICT OF ARIZONA

   8   In re:                                                            Chapter 7

   9   JOSEPH CARL MULAC, III AND                                        Case No. 2:20-bk-04173-BKM
       MARY ELLEN MULAC,
  10                                                                     ORDER GRANTING CHAPTER 7
                              Debtors.                                   TRUSTEE’S APPLICATION TO RETAIN BK
  11                                                                     GLOBAL REAL ESTATE SERVICES AND
                                                                         SULLIVAN SELECT LLC TO PROCURE
  12                                                                     CONSENTED PUBLIC SALE PURSUANT TO
                                                                         11 U.S.C. §§ 327, 328 AND 330
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  14              Upon consideration of the Chapter 7 Trustee’s Application to Retain BK Global Real

  15   Estate Services and Sullivan Select LLC to Procure Consented Public Sale Pursuant to 11 U.S.C.

  16   §§ 327, 328 and 330 (“Application”) requesting approval to retain BK Global Real Estate

  17   Services (“BKRES”) and Sullivan Select LLC (“Listing Agent”) (individually and collectively

  18   referred to as “Brokers”) on behalf of the bankruptcy estate, the Court being satisfied that

  19   Brokers represent no adverse interest to the bankruptcy estate and that Brokers are disinterested

  20   parties pursuant to 11 U.S.C. §§ 101(14) and 327, and the Court being satisfied that said

  21   employment is necessary and will be in the best interest of this bankruptcy estate,

  22              IT IS ORDERED that Brokers shall be employed as of the date that the Application

  23   and the Affidavits of Disinterestedness were filed with this Court, to serve as Brokers to the

  24   Trustee subject to the terms set forth in the Application with certain qualifications set forth

  25   hereinafter.

  26              IT IS FURTHER ORDERED that Brokers shall provide services to the Trustee to

  27   market and/or sell real property located at 2500 Waterside Drive Unit 206 Frederick, MD 21701

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   1   (“Property”), and thereby liquidate the same for the best and highest price, at no cost to the

   2   bankruptcy estate.

   3          IT IS FURTHER ORDERED initially approving payment of an 11 U.S.C. § 506

   4   surcharge to provide a carve out for the benefit of the bankruptcy estate from any sale that may

   5   arise. No carve out shall be paid until the completion of a Court approved sale of the Property.

   6          IT IS FURTHER ORDERED initially approving a real estate broker’s commission in

   7   the amount equal to 6% of the purchase price from any sale that may arise from said services,

   8   and reimbursement of actual costs. No compensation shall be paid until the completion of a

   9   Court approved sale of the Property.

  10          IT IS FURTHER ORDERED that this Order is subject to reconsideration if unique

  11   circumstances so warrant.

  12                                 DATED AND SIGNED ABOVE

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